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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


 UNITED STATES OF AMERICA                                         3:18-CR- 0014~           SI
               v.                                                                INDICTMENT

 JAMES KEENAN,                                                         18 U.S.C. §§ 1591(a)(l),
                                                               1591(b)(2), 1591(c), and 2422(b)
                               Defendant.
                                                                                      Forfeiture


                               THE GRAND JURY CHARGES:

                                            Count 1
                                  (Sex trafficking of a child)
                       (18 U.S.C. § 1591(a)(l), 1591(b)(2), and 159l(c))

       On or about March 9, 2018, within the District of Oregon and elsewhere, defendant

JAMES KEENAN, in and affecting interstate and foreign commerce, did knowingly recruit,

entice, obtain, patronize, and solicit by any means a person, to-wit: Minor Victim (age 17),

knowing and in reckless disregard of the fact that the Minor Victim would be caused to engage

in a commercial sex act, and after having had a reasonable opportunity to observe the Minor

Victim and knowing and in reckless disregard of the fact that the Minor Victim had not attained

the age of 18 years;

       All in violation of Title 18, United States Code, Sections 159l(a)(l), 1591(b)(2), and

159l(c).
                                            Count2
                             (Attempted sex trafficking of a child)
                        (18 U.S.C. § 159l(a)(l), 1591(b)(2), and 159l(c))

       On or about March 20, 2018, within the District of Oregon and elsewhere, defendant

JAMES KEENAN, in and affecting interstate and foreign commerce, did knowingly attempt to

recruit, entice, obtain, patronize, and solicit by any means a person, to-wit: Minor Victim (age

17), knowing and in reckless disregard of the fact that the Minor Victim would be caused to

engage in a commercial sex act, and after having had a reasonable opportunity to observe the

Minor Victim and knowing and in reckless disregard of the fact that the Minor Victim had not

attained the age of 18 years;

       All in violationofTitle 18, United States Code, Sections 1591(a)(l), 1591(b)(2), and

159l(c).

                                            Count3
                                    (Attempted Enticement)
                                      (18 u.s.c. § 2422(b))

       On or about March 20, 2018, within the District of Oregon and elsewhere, defendant

JAMES KEENAN, using a facility of interstate and foreign commerce, did knowingly attempt

to persuade, induce, entice, and coerce an individual, to-wit: a Minor Victim (age 17), who had

not attained the age of 18 years, to engage in prostitution and any sexual activity for which any

person could be charged with a criminal offense;

       All in violation of Title 18, United States Code, Section 2422(b).

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                                    Criminal Forfeiture Allegation
                                          (Counts 1 and 2)

       Upon conviction of an offense listed above in Counts 1 and/or 2 defendant JAMES

KEENAN shall forfeit to the United States pursuant to Title 18, United States Code, Section

1594, any property, real or personal, that was used or intended to be used to commit or to

facilitate the commission of such violation, and any property, real or personal, constituting or

derived from any proceeds obtained, directly or indirectly, as a result of such violation.

                                    Criminal Forfeiture Allegation
                                              (Count 3)

       Upon conviction of the offense listed above in Count 3, defendant JAMES KEENAN

shall forfeit to the United States pursuant to Title 18, United States Code, Section 2428, any

property, real or personal, that was used or intended to be used to commit or to facilitate the

commission of such violations, and any property, real or personal, constituting or derived from

any proceeds obtained, directly or indirectly, as a result of such violation .
                       .,,,.,....
        DATED this _i__ day of April 2018.

                                                       A TRUE BILL.



                                                                         FOREPERSON




Presented by:

BILLY J. WILLIAMS, OSB # 901366
United States Attorne




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